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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY



     IN RE: JOHNSON & JOHNSON                          MDL NO. 2738 (MAS) (RLS)
     TALCUM POWDER PRODUCTS                            JUDGE MICHAEL A. SHIPP
     MARKETING, SALES PRACTICES,                       MAG. JUDGE RUKHSANA SINGH
     AND PRODUCTS LIABILITY
     LITIGATION


     This document relates to:

     Eleanor Mancini 3:17-cv-12662
     Renee Doyle 3:17-cv-12715
     James Fierro 3:17-cv- 12716
     Patricia Christian 3:17-cv-12719
     Robert Gadfield 3:17-cv-12704




               PLAINTIFFS’ RESPONSE TO THE COURT’S ORDER TO SHOW CAUSE


                                                INTRODUCTION

           Plaintiffs in the above referenced matters respectfully file their response to the Court’s

    Order to Show Cause. (Doc. No. 32811). For the reasons specified below, Plaintiffs respectfully

    request that the Court grant a time extension to serve their Plaintiff Profile Forms.

           The (5) Plaintiffs identified in Defendants’ Exhibit A (Doc. No. 32811 pp. 3-5) that are

    represented by Napoli Shkolnik hereby respond that: (1) one Plaintiff will be voluntarily

    discontinuing her case, and (2) other Plaintiffs request an extension of time to complete their

    Plaintiff Profile Forms. Accordingly, the Plaintiff’s cases should not be dismissed.

          There are four Plaintiffs referenced below who need additional time to complete their Plaintiff

    Profile Forms. Despite multiple efforts, undersigned counsel has been unable to reach Plaintiffs
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    since the bankruptcy stay was lifted. One Plaintiff recently passed away due to the grave nature of

    her cancer diagnosis. We have put in place concrete efforts to locate this Plaintiff’s heirs to see if

    they want to continue with the claim. Counsel believes that more time is needed in order to exhaust

    all search efforts, and as a result, these Plaintiffs respectfully request an additional 30 days to submit

    their Plaintiff Profile Forms. This extension of time will not cause any substantial prejudice to

    Defendants.

                                            ARGUMENT

            Although Federal Rules of Civil Procedure grant the Court discretion in fashioning

    appropriate sanctions under Rule 37, the Third Circuit has noted that it is not “equivalent to carte

    blanche” as due process limits the courts’ discretion in two ways: (1) any sanction must be just, and

    (2) the sanction must be related to the particular claim which is at issue in the discovery order.

    (Please see Clientron Corp. Devon IT, Inc. 894 F. 3d, 568, 580 [3rd Cir. 2018]; Harris v City of

    Philadelphia, 47 F. 3d. 1311, 1330 [3rd Cir. 1995]). Dismissal of Plaintiffs’ claims as a discovery

    sanction, would be unjust and unwarranted, as granting an extension to complete Plaintiff Profile

    Forms does not cause substantial prejudice to Defendants.

               The Defendants’ two failed bankruptcy attempts caused nearly two years of delay in this

    MDL. It is certainly not prejudicial to Defendants to wait an additional 30 days for a discovery

    document on these specific cases, given their continued delay tactics, and the fact that none of these

    claimants are slated to proceed to trial any time soon. The specific circumstances for these Plaintiffs

    warrant an extension of time.

                PLAINTIFF WHOSE CASE CAN BE VOLUNTARILY DISCONTINUED

       The following case can be voluntarily discontinued:

        1. Eleanor Mancini (3:17-cv-12662). The parties have conferred and are currently discussing
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            the appropriate mechanism of dismissal and as such have agreed to remove this claimant

            from the current order to show cause.

                                 PLAINTIFFS WHO NEED ADDITIONAL TIME

       Plaintiffs’ Counsel respectfully requests thirty (30) days, until August 2, 2024, to submit the

    Plaintiff Profile forms for the following 4 Plaintiffs:

        1. Renee Doyle (3:17-cv-12715)- recently passed away on December 1, 2023.

        2. James Fierro (3:17-cv- 12716)

        3. Patricia Christian (3:17-cv-12719)

        4. Robert Gadfield (3:17-cv-12704)

                                                     CONCLUSION

       For all of the reasons raised above, the Plaintiffs respectfully request that the Court not dismiss

    Plaintiffs’ claims and instead extend the above Plaintiffs’ deadline until August 2, 2024, to submit

    their Plaintiff Profile Forms.

    July 2, 2024


                                                              Respectfully submitted,



                                                              /s/ Christopher R. LoPalo
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                                   CERTIFICATE OF SERVICE

            The undersigned hereby certifies that on July 2, 2024, the foregoing pleading was filed
    electronically with the Clerk of the Court using the CM/ECF system, which notifies all Counsel
    of record via electronic mail.


                                                       /s/ Christopher R. LoPalo
